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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:06CR71
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
JESSICA MARTINEZ,                            )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s motion for leave to proceed in

forma pauperis (Filing No. 202) with respect to her pending motion to reduce sentence as

a result of the crack cocaine amendments to the sentencing guidelines.

       The Defendant has previously had appointed counsel in this Court. An Assistant

Federal Public Defender has entered her appearance with respect to the pending motion.

(Filing No. 206.)

       IT IS ORDERED that the Defendant’s motion for leave to proceed in forma pauperis

(Filing No. 206) is denied as moot.

       DATED this 19th day of May, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
